                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—GENERAL

Case No.      EDCV 19-01674-JGB (KKx)                                   Date    October 20, 2020
Title   Guadalupe Martinez v. Solari Enterprises, Inc., et al.


Present: The Honorable       KENLY KIYA KATO, UNITED STATES MAGISTRATE JUDGE


              DEB TAYLOR                                                  Not Reported
               Deputy Clerk                                              Court Reporter


    Attorney(s) Present for Plaintiff(s):                     Attorney(s) Present for Defendant(s):
               None Present                                               None Present

Proceedings:      (IN CHAMBERS) ORDER for Plaintiff and Plaintiff’s Counsel to Show
                  Cause Why Sanctions Should Not be Entered for Failure to File
                  Confidential Settlement Conference Statement and VACATING October 23,
                  2020 Settlement Conference

        On January 3, 2020, the Honorable Jesus G. Bernal referred this matter for mandatory ADR
proceedings to be completed no later than September 28, 2020. ECF Docket No. (“Dkt.”) 29. On
January 14, 2020, Judge Kato issued an Order Regarding Settlement Conference, scheduling the
settlement conference for April 15, 2020, and ordering the parties to submit Confidential Settlement
Conference Statements five court days prior to the date of the settlement conference, i.e. April 8,
2020. Dkt. 30.

       On March 25, 2020, in light of the developing circumstances involving the Coronavirus
Disease 2019 (COVID-19), the settlement conference set for April 15, 2020, was vacated. Dkt. 31.
The parties resumed efforts to informally settle the matter without the Court’s assistance but were
unsuccessful. Dkt. 32 at 2.

         On June 16, 2020, Judge Bernal granted the parties’ stipulation to continue the trial and pre-
trial dates and continued the settlement conference deadline to December 28, 2020. Dkt. 33 at 2.
On August 5, 2020, Judge Kato issued an order rescheduling the settlement conference for October
23, 2020. Dkt. 34. Therefore, pursuant to the Order Regarding Settlement Conference, the parties’
Confidential Settlement Conference Statements were due no later than October 16, 2020.

       The Court has received Defendants’ Confidential Settlement Conference Statement.
However, as of this date, the Court has not received a Confidential Settlement Conference
Statement from Plaintiff. Moreover, after having not received Plaintiff’s timely Confidential


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Settlement Conference Statement, the Court reached out to Plaintiff’s counsel on October 19, 2020.
As of the date of this order, Plaintiff’s counsel has not responded to the Court.

         Accordingly, the Court HEREBY ORDERS Plaintiff and Plaintiff’s counsel Marvin B.
Adviento to show cause why they should not be sanctioned in the amount of $1,000 jointly and
severally for their failure to comply with the Court’s order. Plaintiff and Plaintiff’s counsel shall
respond in writing to this Order to Show Cause no later than October 23, 2020. Additionally, in
light of Plaintiff’s failure to submit a timely settlement conference statement, the October 23, 2020
settlement conference is VACATED.

        IT IS SO ORDERED.




cc: Honorable Jesus G. Bernal




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